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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                        CASE NO. 8:10-cr-438-T-33AAS

    DAISY LOUISE THOMAS

                                      /

                                      ORDER

          This matter comes before the Court pursuant to Daisy

    Louise Thomas’s pro se Renewed Motion for Relief under Section

    3582(c) (Doc. # 537), filed on November 20, 2020. The United

    States of America responded in opposition on December 15,

    2020. (Doc. # 539). For the reasons that follow, the Motion

    is denied.

    I.    Background

          In March 2012, the Court sentenced Thomas to 204 months’

    imprisonment for conspiracy to commit armed robbery, robbery

    through use of physical violence, and using, carrying and

    brandishing    of   a   firearm    in     furtherance   of   a   crime   of

    violence. (Doc. # 333). Thomas is forty-one years old, and

    her projected release date is May 16, 2025. (Doc. # 539 at

    1).

          Thomas   first sought       compassionate release          from this

    Court in late July 2020 because she had contracted COVID-19



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    in prison and has certain other medical issues. (Doc. # 523).

    The Court denied that motion on August 14, 2020, finding that

    Thomas’s         mild    case    of     COVID-19         and      her   other   medical

    conditions do not constitute an extraordinary and compelling

    reason for compassionate release and that the Section 3553(a)

    factors did not weigh in favor of release. (Doc. # 529).

              Now, Thomas again seeks compassionate release based on

    various medical conditions and her fear of contracting COVID-

    19    a    second       time.   (Doc.       #    537).      The   United     States   has

    responded (Doc. # 539), and the Motion is ripe for review.

    II.       Discussion

              The United States argues that Thomas’s Motion should be

    denied on the merits. (Doc. # 539). The Court agrees.

              “The   authority       of     a       district      court     to   modify    an

    imprisonment sentence is narrowly limited by statute.” United

    States v. Phillips, 597 F.3d 1190, 1194–95 (11th Cir. 2010);

    see also United States v. Diaz-Clark, 292 F.3d 1310, 1317-18

    (11th       Cir.    2002)(collecting                cases    and    explaining        that

    district courts lack the inherent authority to modify a

    sentence). Specifically, 18 U.S.C. § 3582(c) sets forth the

    limited circumstances in which a district court may reduce or

    otherwise modify a term of imprisonment after it has been

    imposed. The only portion of Section 3582(c) that potentially



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    applies to Thomas is Section 3582(c)(1)(A)(i), which permits

    a   court    to    reduce     a   sentence     where    “extraordinary     and

    compelling reasons warrant such a reduction.” 18 U.S.C. §

    3582(c)(1)(A)(i).

          The Sentencing Commission has set forth examples of

    qualifying        “extraordinary         and   compelling    reasons”      for

    compassionate release, including but not limited to: (1)

    terminal     illness;       (2)   a     serious   medical   condition    that

    substantially diminishes the ability of the defendant to

    provide self-care in prison; or (3) the death of the caregiver

    of the defendant’s minor children. USSG § 1B1.13, comment.

    (n.1).      Thomas    bears       the    burden    of   establishing     that

    compassionate release is warranted. See United States v.

    Heromin, No. 8:11-cr-550-T-33SPF, 2019 WL 2411311, at *2

    (M.D.    Fla.     June   7,   2019)(“Heromin        bears   the   burden   of

    establishing that compassionate release is warranted.”).

          Thomas primarily seeks compassionate release based on

    her alleged increased vulnerability to COVID-19 based on her

    pre-existing conditions of asthma, hypertension, high blood

    pressure, cysts, and obesity. (Doc. # 537 at 11). She also

    argues that the BOP’s response to the pandemic has been

    insufficient at her facility. (Id. at 7).




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          Even assuming the “catch-all” provision allows the Court

    to find an extraordinary and compelling circumstance besides

    those enumerated in USSG § 1B1.13, Thomas has failed to

    establish     an     extraordinary           and    compelling      reason     for

    compassionate release. The Court has already held that many

    of    Thomas’s       medical         issues,        including      asthma      and

    hypertension, do not qualify as extraordinary and compelling

    circumstances. (Doc. # 529 at 4-5). The Court again holds

    that her various medical conditions are not an extraordinary

    and compelling reason for release because Thomas has not

    established        that     her    medical         conditions      substantially

    diminish her ability to provide self-care in prison. See USSG

    § 1B1.13 comment. (n.1); see also Cannon v. United States,

    No. CR 11-048-CG-M, 2019 WL 5580233, at *3 (S.D. Ala. Oct.

    29, 2019)(“[D]espite the many medical afflictions Cannon

    identifies, he does not state, much less provide evidence,

    that his conditions/impairments prevent him from providing

    self-care    within       his     correctional       facility.      Rather,    the

    medical   records         provided      by   Cannon    show     that   his    many

    conditions are being controlled with medication and there is

    no mention that his conditions are escalating or preventing

    him   from    being        able    to    provide       self-care.”).        “While

    [Thomas’s]    medical        conditions        []     may   make    [her]     more



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    vulnerable to COVID-19, the Court is not convinced that this

    increased vulnerability is an extraordinary and compelling

    circumstance.” United States v. Shevgert, No. 8:08-cr-44-

    33TBM, 2020 WL 5759504, at *2 (M.D. Fla. Sept. 28, 2020).

         Furthermore, the Court agrees with the Third Circuit

    that “the mere existence of COVID-19 in society and the

    possibility that it may spread to a particular prison alone

    cannot         independently        justify        compassionate            release,

    especially          considering     BOP’s       statutory      role,        and     its

    extensive and professional efforts to curtail the virus’s

    spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir.

    2020). The Court understands that a high number of inmates

    have tested positive for COVID-19 at Thomas’s facility, but

    this does not support that the BOP is taking insufficient

    steps     to    protect     inmates       there.      And     while     the       Court

    appreciates         that   Thomas   has       taken   steps    to     rehabilitate

    herself        in    prison,   these      steps       also    do      not     warrant

    compassionate release.

         To the extent the Motion can be construed as requesting

    release to home confinement, the Motion is also denied. The

    Court has no authority to direct the Bureau of Prisons (BOP)

    to place Thomas in home confinement because such decisions

    are committed solely to the BOP’s discretion. See United



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    States v. Calderon, No. 19-11445, 2020 WL 883084, at *1 (11th

    Cir. Feb. 24, 2020)(explaining that district courts lack

    jurisdiction      to    grant       early       release    to     home    confinement

    pursuant to Second Chance Act, 34 U.S.C. § 60541(g)(1)(A)).

    Once a court imposes a sentence, the BOP is solely responsible

    for determining an inmate’s place of incarceration to serve

    that sentence. See Tapia v. United States, 564 U.S. 319, 331

    (2011)(“A sentencing court can recommend that the BOP place

    an offender in a particular facility or program . . . [b]ut

    decision making authority rests with the BOP.”); 18 U.S.C. §

    3621(b)(“The      [BOP]     shall       designate           the     place      of   the

    prisoner’s imprisonment[.]”). Thus,                       any   request for home

    confinement       falls     outside         Section        3582(c)’s        grant    of

    authority.

          Finally, as the Court previously held (Doc. # 529 at 5-

    6),   the    18    U.S.C.       §    3553(a)       factors        do     not   support

    compassionate          release.       Section        3553(a)           requires     the

    imposition of a sentence that protects the public and reflects

    the seriousness of the crime. The Court again agrees with the

    United States that releasing “Thomas would pose a danger to

    public safety if released,” given the seriousness nature of

    her crimes. (Doc. # 539 at 17). Despite her claim that she is

    a non-violent offender (Doc. # 537 at 1), Thomas’s crimes in



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    this case — conspiracy to commit armed robbery, robbery

    through use of physical violence, and using, carrying and

    brandishing of a firearm in furtherance of a crime of violence

    — were violent. Thus, even if Thomas had established an

    extraordinary and compelling reason, the Court still would

    not grant her compassionate release.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Daisy Louise Thomas’s pro se Renewed Motion for Relief

    under Section 3582(c) (Doc. # 537) is DENIED.

         DONE and ORDERED in Chambers, in Tampa, Florida, this

    31st day of December, 2020.




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